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                                           AFFIDAVIT


         I, Hans C. Wiedenhofer, a Special Agent (“SA”), of the Bureau of Alcohol, Tobacco,

 Firearms and Explosives (ATF), United States Department of Justice, being duly sworn under

 oath, hereby depose and state:

       1.        I am a law enforcement officer of the United States, and under 18 U.S.C. § 3051,

I am charged by the Attorney General with the duty of enforcing any of the criminal, seizure, or

forfeiture provisions of the laws of the United States, may carry firearms, serve warrants and

subpoenas issued under the authority of the United States, make arrests without warrant for any

offense against the United States committed in my presence, or for any felony under the laws of

the United States if there are reasonable grounds to believe that the person to be arrested has

committed or is committing such felony.

       2.        I am a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (“ATF”), United States Department of Justice (DOJ), and as such am empowered

under Title 18, United States Code § 2510(7), to enforce Title 18 and other criminal laws of the

United States.

       3.        I have been employed by the ATF since May 2017. I am presently assigned to

ATF’s Cleveland Field Office. I am a graduate of the ATF National Academy, located at the

Federal Law Enforcement Training Center in Glynco, Georgia. The ATF National Academy

consists of 16 weeks of training regarding subjects such as firearms trafficking, unlawful

possession of firearms and ammunition, unlawful dealing in firearms, unlawful possession and/or

use of explosives, improvised explosive devices, arson investigations, execution of arrest and

search warrants, and criminal procedure. In conducting investigations, I have utilized a variety of

investigative techniques and resources, including but not limited to surveillance, confidential


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informants, controlled purchases, electronic surveillance, exploitation of telephone and social

media data, interviews, and the review of financial documents.

       4.      I have received specialized training regarding the investigation and enforcement

of Federal Firearms violations and have conducted investigations regarding individuals involved

in dealing firearms without a license and manufacturing firearms without a license.

       5.      I am submitting this affidavit in support of a Criminal Complaint and an

Application for an Arrest Warrant pursuant to Rules 3 and 4 of the Federal Rules of Criminal

Procedure and 18 U.S.C. 3051, authorizing the arrest of Alexander BEATTIE, DOB:

07/**/1991.

        6.     The facts contained in this Affidavit are based upon my personal knowledge of the

 investigation, in addition to my general knowledge, training, and experience, and the

 observations, knowledge, training, and experience of other officers and agents. All observations

 referenced below that were not personally made by me, were relayed to me by those who made

 such observations, either verbally or via reports written by those agents and/or officers.

        7.     This Affidavit contains information necessary to support probable cause for

 this application. It is not intended to include each, and every fact and matter observed by me

 or law enforcement or known to the government or serve as verbatim or transcribed

 accounts of interviews referenced in the affidavit.

                                     PROBABLE CAUSE

       8.      On February 13, 2024, an ATF Special Agent received information from a former

ATF Confidential Informant (CI) who stated that BEATTIE was manufacturing and selling

firearms and switches (machine gun conversion devices). The former CI stated that BEATTIE

reached out to him/her through Facebook Messenger looking to sell firearms and/or switches to



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him/her. The former CI stated that BEATTIE’s Facebook username was “Alex BEATTIE”. The

former CI further identified BEATTIE as having had red hair, and resided in Barberton, Ohio.

The former CI stated that he/she only spoke to BEATTIE through Facebook Messenger and did

not have BEATTIE’s direct phone number.

       9.      An ATF Special Agent located BEATTIE’s Facebook page which was public and

not restricted in any way. The ATF Special Agent utilized the information from BEATTIE’s

Facebook page and was able to identify BEATTIE through the Ohio Law Enforcement Gateway

(OHLEG) program.

       10.     On February 13, 2024, an ATF Special Agent reviewed a Facebook page

belonging to BEATTIE (Facebook user ID: 100018819904568). The ATF Special Agent

observed that the name displayed on the Facebook page was “Alex BEATTIE”. The “About”

section of BEATTIE’s Facebook page displayed that BEATTIE “Live in Barberton, Ohio”,

“Studied at Ashland University”, and is “Single”. The ATF Special Agent observed multiple

photographs of BEATTIE on the page. The photographs displayed on OHLEG match the

photographs of BEATTIE on the Facebook page.

       11.     During the review, the ATF Special Agent observed a Facebook video that

BEATTIE had posted on October 2, 2023. In the video, an unidentifiable white person is seen

holding what appears to be a rifle with one hand. The rifle has what appears to be a small plastic

foot attachment on the charging handle of the firearm. The unidentifiable person is seen using

their foot to manipulate the charging handle of the firearm to cycle the bolt of the firearm. (See

photographs below)




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       12.     On February 14, 2024, the ATF Special Agent spoke with the former CI and asked

the former CI if he/she would be able to obtain BEATTIE’s phone number. The ATF Special

Agent also asked the former CI if BEATTIE would be willing to meet and sell firearms to new

people. The former CI stated they would attempt to make contact with BEATTIE and determine

the feasibility of setting up a meeting.

       13.     On February 26, 2024, the ATF Special Agent spoke with the former CI who

stated that BEATTIE would be willing to meet and sell firearms to new people. On March 1,

2024, the ATF Special Agent obtained BEATTIE’s phone number from the former CI, which

was 330-904-6562.

       14.     On March 4, 2024, an ATF Special Agent acting in an Undercover Capacity (UC)

contacted the former CI to speak about BEATTIE to gather intelligence prior to the UC making

contact with BEATTIE. The former CI sent the ATF UC photographs and a video (see

photographs below) of images which BEATTIE had sent the former CI through Facebook

Messenger. In the photographs, you can see that BEATTIE is utilizing a 3D Printer to

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manufacture firearm parts, specifically the frame/receiver of a pistol. The video also shows

BEATTIE handling a firearm. In the video you can see the tattoo’s on BEATTIE’s hands that

match the tattoo’s on BEATTIE’s hands in photographs he posted on his public Facebook page.




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       15.     The photographs also show the 3D printer with a light green wall behind it and a

blue knob on the bottom. A photograph on BEATTIE’s Facebook page showing items he made

on his 3D printer also has the same light green wall behind the 3D printer and a blue knob on the

bottom (see photographs below).




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        16.     On March 5, 2024, the ATF UC began having text message conversations with

BEATTIE. The ATF UC asked BEATTIE if he currently had anything for sale, to which

BEATTIE replied, “I normally don’t have anything that I keep for sale on hand. The way I do it

is I take orders from people, paid upfront, then I deliver it after it’s finished, and I have tested to

make sure everything works”. The ATF UC went on to converse with BEATTIE through text

messages. On Monday, March 11, 2024, BEATTIE sent the ATF UC a photo of various firearm

pieces and then a photo of the firearm completely put together (see photographs below).

BEATTIE told the ATF UC that he could make him one.




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                              UC CONTACT & PURCHASES

       17.    In July of 2024, an ATF Special Agent Acting in an Undercover Capacity

(hereinafter referred to as UC1) made contact with BEATTIE.

        18.    On or about July 22, 2024, UC1 and BEATTIE had the following conversation
via text message:

              UC1: Wut up buddy how we lookin
              BEATTIE: Like a runner for the cartel who switched sides and got his legs cut
              off. I’m sitting still, I thought I had sent you a message but I can see now that I
              did not
              BEATTIE: I ended up needing to allocate funds to other places and I haven’t
              even been able to swing the parts kit for a C9 anywhere in my budget
              UC1: Well damn. Any idea of a timeline
              BEATTIE: I couldn’t tell you. This is another one of the reasons I usually accept
              payment initially so that everything is covered and I don’t end up in a situation
              myself where I am unable to finish something for someone.
              BEATTIE: I do have a proposition that might be a decent middle ground if you
              are interested and willing.

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              UC1: Whats the proposition
              BEATTIE: Well I know you want to get business underway, as do I for the simple
              fact I really enjoy building them. (I hardly tax at all, probably why I am in this
              financial situation (emoji))
              BEATTIE: What if you drove up here to do a meet and greet, you can check out
              the print station and we can shoot the shit or whatever about firearms, girls with
              cute asses, etc…
              BEATTIE: That way, you know where I live, but also you’ll probably be more
              comfortable when you see I keep it pretty chill and decent at home and not like a
              hot ass soon to be busted operation or scam center either.
              BEATTIE: I know it’s quite the drive for you, but that’s being the case if you
              wouldn’t mind coming out to meet up, paying upfront so I can start, I’ll bring it
              out to you when it’s finished and I make sure it is up to my standard.

       19.    On or about August 4, 2024, UC1 and BEATTIE exchanged the following text

messages (this is not the whole conversation that occurred between UC1 and BEATTIE on or

about August 4, 2024):

              UC1: Yo wut up buddy
              BEATTIE: Hey What’s going on
              UC1: You going to be around this week to meet up
              BEATTIE: I’m at home way to often lately.
              And my biggest supporter is on vacation so I’m in even a deeper rut than usual
              (emoji)
              UC1: Alright buddy. I will be up that way around Wednesday or Thur I’ll let you
              know for sure
              BEATTIE: Just so you know, I haven’t been able to get anything put together for
              you. But I could print up a frame or two, on top of the other various pieces and
              parts. I’ve already got laying around and when you get here, you can see the kind
              of quality work that I do and if you’re comfortable with it instead of giving me the
              money, you could just pay for the parts yourself and then after assembly Testing,
              you could toss me whatever you’re comfortable with and think that I would
              deserve for the work
              BEATTIE: Shit to be honest, just to get the ball rolling you’re more than
              welcome to come up today if you want. Don’t got shit going on and I really need
              to get some shit going on.
              UC1: Shit I can’t today got a whole bunch of stuff going on the next couple days.
              But when I get there we can go from there if you’re good with that
              BEATTIE: I’m taking whatever I can get at this point so that’s fine with me.
              My printer is sitting still right now though so I will still print something in
              advance.


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              Printing the Highpoint frames takes an unnecessary amount of filament compared
              to the Glocks, especially when you consider the end product.
              If I was to make you a Glock for you, would you prefer a 17, 19, 26, 43, or one of
              the various combinations of all of those (17 grip with a 19 slide, 26 slide with a 19
              grip, etc)
              UC1: The 17 or 19

              UC1: Hell yeah. You make that today
              BEATTIE: That’s just the file after getting the settings dialed in and slicing it
              from an STL into the printers machine language GCODE.
              I haven’t even swapped out the white filament to black filament yet or preheated
              the heater.
              I take this work seriously and put full effort into it mentally
              UC1: I can tell. I respect that.
              BEATTIE: That’s part of the reason I prefer to charge in advance aside from
              being broke, I enjoy the suspenseful satisfaction when they finally see what came
              out of this aluminum gantry plastic squirt robot sitting in the corner of my room

              UC1: How long does it take for the Glock once you change the filament
              BEATTIE: I remembered the Gen 1-4 Glock Slide Lock springs lose tension
              easily causing the slide to either fly off or be stuck on. Instead of finding a Gen5
              spring version I just modified the same frame. Also added a lower pic rail for
              flashlight or laser or whatever
              And this print should take roughly 28 hours
              Usually for handgun builds I’m waiting on parts to ship to me way longer than
              I’m waiting on prints.
              UC1: You take the whole 400 in advance for the Glock right
              BEATTIE: Yeah for every build I usually take the entire payment, my cut and all
              upfront

       20.    On or about August 7, 2024, UC1 and BEATTIE exchanged the following text

messages (this is not the whole conversation that occurred between UC1 and BEATTIE on or

about August 7, 2024):

              BEATTIE: Hey do you have a rough time you might be out this way tomorrow to
              meet up?
              UC1: Probably around noon buddy if that’s cool?
              BEATTIE: That works for me, did I already shoot you my address or do you
              need it still?
              UC1: Nah I still need it
              BEATTIE: 300 East Hopocan Ave. Barberton, Ohio. 44203
              The east is important, cause there is a 300 Hopocan Ave on the other side of town
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       21.    On or about August 8, 2024, UC1 met with BEATTIE at his home located at 300

East Hopocan Avenue, Barberton, Ohio 44203.

       22.    Upon UC1’s arrival, UC1 observed a white male with red hair exiting the side

door of 300 East Hopocan Ave. UC1 identified that male as BEATTIE. UC1 then observed

BEATTIE walk to a detached garage behind the residence and open the garage door slightly.

BEATTIE then entered the garage. A short time later, BEATTIE exited the garage. UC1

observed BEATTIE holding what appeared to be a lower receiver in his left hand. BEATTIE

then met with UC1 and handed UC1 the lower receiver for a firearm. The lower receiver seemed

to be the same lower receiver that BEATTIE had shown to UC1 via text messages photographs

and videos.




       23.    BEATTIE asked UC1 if UC1 wanted to order the remaining parts to complete the

firearm. UC1 informed BEATTIE that they would like to complete the firearm. BEATTIE


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invited UC1 inside of 300 East Hopocan Ave., Barberton, OH. BEATTIE led UC1 into his

bedroom on the second floor of the residence. Upon entry into BEATTIE’s room, UC1 observed

a 3-D printing machine along with a computer screen that had firearm parts projected on it.




       24.    UC1 asked BEATTIE when he thought that the firearm that UC1 wanted would

be completed and BEATTIE stated that he did not know how the new website shipped their

items. BEATTIE then stated that he could go with the original website that he usually goes with

and then pulled up the website to show other firearm parts. BEATTIE informed UC1 that the

firearm could be completed within a week.

       25.    BEATTIE then proceeded to inform UC1 of a rifle that he had built and the

individual that he built it for never came to purchase the firearm. BEATTIE had previously sent

UC1 photographs of this rifle at an earlier date. UC1 asked BEATTIE how much it would be to

build a rifle like the one that BEATTIE was talking about and BEATTIE informed UC1 that it

would be cheaper to build then a Glock BEATTIE informed UC1 that the rifle would take about

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two weeks to print and two rolls of material. BEATTIE informed UC1 that the rifle would be

approximately $300 to $350. BEATTIE then started to research the website that he used to make

the previous rifle. BEATTIE informed UC1 that if UC1 were to get the rifle the way BEATTIE

made it last time it would have a four-inch barrel.

       26.     BEATTIE informed UC1 that he also printed suppressors for firearms. UC1

asked BEATTIE what type of firearms he prints suppressors for, and BEATTIE stated that he

could print a suppressor for any firearm. BEATTIE stated that he could print different types of

suppressors. BEATTIE stated UC1 could get a fully printed suppressor that wouldn’t last that

long and should not shoot fully automatic through it. BEATTIE stated that there are some

suppressors that metal inserts can be inserted.

       27.     BEATTIE stated that he ordered the rifle with a barrel already because he did not

want to go through the process of making a barrel. BEATTIE informed UC1 that the cost, based

off the website, would be $302 plus an additional $50 dollars for the material. BEATTIE stated

that the rifle would come with a 30-round magazine, however, BEATTIE informed UC1 that the

magazine itself states that it holds 33 rounds. BEATTIE informed UC1 that he was able to get

31 rounds inside the rifle magazine.

       28.     BEATTIE asked UC1 if the legalities that are associated with the rifle would

bother UC1. UC1 believed that BEATTIE was referring to the short barrel that the rifle came

with. In referring to the rifle, BEATTIE referenced the size of the firearm and if it was over 14.5

inches. UC1 believed that BEATTIE was referring to the firearm being considered a short barrel

rifle with a barrel under 14.5 inches. UC1 stated that it did not matter, making reference to

whether UC1 wanted the firearm over 14.5 inches. BEATTIE stated that he did not like looking




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that information up for those people who care about the length of the firearm. BEATTIE then

stated, “If I get caught with any of these, I’m fucked.”

       29.     UC1 provided BEATTIE with approximately $400 of funds for the purpose of

BEATTIE completing the firearm for UC1.

       30.     On this same date, UC1 and BEATTIE exchanged the following text messages

(this occurred after UC1 met with BEATTIE at BEATTIE’s residence):

               BEATTIE: I’ve got everything needed ordered and shipping by the end of
               tomorrow at the latest. It’s from three different companies, but I think only the
               rails & locking block will take any longer than 5 days.
               UC1: Hell yeah buddy.
               BEATTIE: I’ll keep you updated with expected shipping times, any issues that
               may come up, and the overall progress of the build.
               UC1: I appreciate it.
               BEATTIE: I appreciate you. From now on though remind me to double check
               prices before I make any sales, since we will be considered in good business
               standing then (emoji).

       31.     On or about August 15, 2024, UC1 and BEATTIE exchanged the following text

messages (this is not the full conversation that took place between UC1 and BEATTIE on

August 15, 2024):

               BEATTIE: The magazine won’t be here until tomorrow sometime so I can’t
               officially say this bad boy is good to go. But, everything seems fully functional
               and ready for fun.
               UC1: Oh hell yeah. That thing looks bad ass
               BEATTIE: Thanks.
               I ran out of black filament, so your mag release is a nice white-ish

               BEATTIE: So, small hiccup in the process. I forgot that I printed a frame that is
               essentially a full Glock 19, but with a Glock 17 grip. Thus, Taking a Glock 17
               mag. I got the Glock 19 mag in the mail about half an hour ago, and obviously it’s
               way too short
               Only reason this is such an issue, is my broke ass can’t afford to order a Glock 17
               magazine. I’m gonna ask some friends and see if anybody might have one they
               wouldn’t mind swapping out with me for now.



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       32.    On or about August 23, 2024, UC1 and BEATTIE exchanged the following text

messages (this is not the full conversation that took place between UC1 and BEATTIE on

August 23, 2024):

              BEATTIE: Well I hope you feel better. I did a function test and live fire. Then a
              full disassembly to check over everything for any pressure cracks, layer
              separation, or any of the metal parts “sinking” due to hollow points that can (very
              rarely) form sometimes due to inconsistent or erratic heat fluctuations while
              printing. Everything Checks out.
              UC1: Thanks Buddy.

              *BEATTIE sent a video to UC1 of BEATTIE test firing the firearm*
              BEATTIE: Decided to do it in my garage instead of the house for shits and
              giggles. Had momma dukes waiting inside to give me a realistic feedback on
              whether or not it’s a safe option in the neighborhood.
              UC1: Looks fuckin good to me buddy
              BEATTIE: I called her right after and mind you she is a sweet woman and an
              innocent, far from the likes of myself, she said “Oh, no that sounded just like
              gunshots and was loud. Maybe don’t do that anymore.”

       33.    On or about August 25, 2024, UC1 and BEATTIE exchanged the following text

messages (this is not the whole conversation between UC1 and BEATTIE on or about August

25, 2024):

              BEATTIE: Alright. Good timing too actually. I have some parts coming in the
              mail tomorrow morning-ish (usually hits around 10-11) to finish my Glock 26
              build.
              UC1: Hell yeah
              BEATTIE: In case your wife might want a custom one too, while the frame is not
              as nice as yours (yours is fucking sweet, I can’t wait to see your reaction
              tomorrow honestly when you hold it) the Glock 26 does have a custom slide,
              RMR cutout to put a red dot or holo sight if you want, and I put fiber optic sights
              on it for now.
              I also have an extra magazine (that Glock 19 magazine I accidentally got) that
              will fit it as an addition.
              UC1: Damn buddy sounds good to me
              BEATTIE: Alright, not to make it sound like a staggering difference either but
              because I have maybe enough material to print a human fingernail if that and the
              fact the top half of the Glock 26 costs more than yours collectively I really would
              need $550 for it.

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        UC1: No worries buddy
        BEATTIE: And, because I have a conscious, if you did buy it as well I would be
        printing a free replacement frame for it because when I say it isn’t as nice as yours
        I mean it. I ran out of filament twice while printing it, and I also had some under
        extrusion do to the filament running out making it look slightly limp near the
        barrel end of the frame. (That won’t have any impact on function because it is
        ahead of the front rails but it just looks a little like a soft penis)

        UC1: So what I was thinking was buying the white one as is and just flippin it.
        Does it fire as is?
        BEATTIE: It will. The defects on the frame are strictly cosmetic
        BEATTIE: I can take a better photo when I get back upstairs to show you exactly
        what it is.
        UC1: Yeah I can still flip that for a decent profit on my end. As long as it shoots
        I’m cool with it.
        *BEATTIE sent a photograph to UC1*
        UC1: Yeah buddy I ain’t worried about that.
        BEATTIE: Cool then guess I’m not either.
        BEATTIE: This is a really nice slide and the trigger assembly has an aftermarket
        trigger bar too, so I find it pretty ironic that this frame gave me so many issue and
        was literally the last of my material (emoji)
        *BEATTIE sent a photograph to UC1*
        UC1: Damn you ain’t joking that damn this is nice
        BEATTIE: Right. I’ve been wanting to get myself a nice Glock 26 build because
        those are my personal favorite Glocks but needing the Cash, or frame mishaps
        like this keep stopping me (emoji)
        BEATTIE: One other thing I wanted to touch base with you about by the way, I
        explained a little bit about the FGC-9 builds before right? The pistol caliber rifles
        that are designed to be able to be made at home easily?
        This thing




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        UC1: Yeah we talked about that

        BEATTIE: Well there has been a wicked bullpup version in development since
        2021 and it was jut released 5 days ago, and they wnet big time on this release.
        Uses a unique gear system as the firing mechanism so you don’t even have to
        order a hammer or spring online (since the atf tracks even little shit like that)

        BEATTIE: The documentation that came with it has full sections on how to fully
        obfuscate not only your hobby and the means of supplying parts for the hobby but
        also online behavior. They even wrote a paper titled “The New Second
        Amendment” basically pointing out the obvious about the inevitable complete
        control from our government or the governments downfall for trying, etc…

        BEATTIE: Anyway I’m done rambling about my hopes and dreams of a civil
        war in my lifetime, I plan on putting one together or a few. It’s cool as shit
        looking, would you have an interest?

        BEATTIE: Being bullpup, slapping a 10” barrel makes it super illegal but perfect
        for close quarters combat, urban warfare, etc

        UC1: Hell yeah what would be the price?

        BEATTIE: If I make it fully from scratch, by rifling my own barrels and
        fabricating the bolt/firing pin, probably around $350 - $400 and that’s taking into
        account the fact that lower and upper receivers take almost 3 days to print each,
        and the design will use a little over two rolls of material.


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              BEATTIE: If I get pre-fab metal parts and save myself the headache, $450. Same
              price I roughly advertise the FGC-9 for

              BEATTIE: These at home carbine designs are a bit cheaper than Glock builds to
              be honest.

              BEATTIE: It just takes a lot more time and thought is all.

              *BEATTIE sent a video to UC1*

              BEATTIE: This is how the fire control group works. It’s almost alien compared
              to how AR builds fire.

              UC1: Yes it is. Oh hell yeah that thing is bad ass

              BEATTIE: Yeah, I have been wanting to build a P90 (3DP90 to be technically
              correct) because I have always found the FN P90 to be one of the greatest
              engineering designs ever, but I think my I might be open to having a new favorite.

              BEATTIE: The immense amount of movement behind the reason it is even
              existing is a big thing too. The whole, we should not have a government who acts
              like a piss babysitter and trying to ground us all the time, “Free Men Don’t Ask”
              type of shit really gets me going.

              BEATTIE: I probably whimper “The British are Coming” while I sleep I swear
              (emoji)

              BEATTIE: Anyway, I am done rambling now.

              BEATTIE: Is $550 for that other Glock cool though? I will still print another
              frame for it if you end up wanting to keep it or if I can’t sell due to being ugly if
              necessary

              UC1: Yeah buddy that’s fine.

       34.    On or about August 26, 2024, UC1 and BEATTIE exchanged the following text

messages (This is not the whole conversation that took place between UC1 and BEATTIE on or

about August 26, 2024):


              UC1: Hey buddy can you send me your address again?

              BEATTIE: You about to head this way right now?

              BEATTIE: 300 East Hopocan Ave Barberton Ohio

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        35.   On or about August 26, 2024, UC1 met with BEATTIE at his home located at

300 East Hopocan Avenue, Barberton, Ohio 44203.

        36.   UC1 pulled into the driveway of 300 East Hopocan Ave. UC1 attempted to call

BEATTIE but UC1 observed BEATTIE exit the side door of the residence. UC1 met with

BEATTIE in the doorway of the residence. BEATTIE walked into the residence and UC1

followed BEATTIE.




        37.   UC1 walked into the living room and met BEATTIE’s mother (Anita

BEATTIE) who was sitting in a chair. BEATTIE eventually retrieved a box from the couch and

handed it to UC1. BEATTIE stated that he was excited to see UC1’s reaction upon seeing the

black PMF, the firearm previously ordered by UC1 on August 8, 2024, that he (BEATTIE), had

made.




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       38.    Upon Opening the box, UC1 observed a black PMF handgun, and a white PMF

handgun, three magazines (one for the black PMF and two for the white PMF), and a “Riptide

Rails” sticker. UC1 retrieved the black PMF from the box and stated how nice the firearm was.

Both BEATTIE and his mother (Anita BEATTIE) joined in with UC1’s admiration of the black

PMF.

       39.    Upon inspection of both PMF’s, UC1 provide BEATTIE with $550.00 in funds

in exchange for the white PMF.

       40.    UC1 asked BEATTIE about the FGC-9 that he had shown to UC1 during a text

message conversation as well as the first meet on August 8, 2024. BEATTIE asked if UC1

wanted one now and UC1 stated he did. BEATTIE informed UC1 that it usually takes about a

week and a half to complete the FGC-9. BEATTIE’s mother stated that they could possibly

place an order on Friday for the parts and filament. BEATIE informed UC1 that he had a friend

by the name of “Rob” who was going to come over and “Rob” might order him

(BEATTIE)filament for the 3-D printer.

       41.    BEATTIE escorted UC1 out of the residence. Once outside of the residence, UC1

asked BEATTIE again when he could have the FGC-9 completed. BEATTIE informed UC1

that he could possibly order the parts for the FGC-9 on Friday. BEATTIE stated that the FGC-9

could be completed in three weeks. BEATTIE asked UC1 if they wanted the stock on the FGC-

9 and UC1 stated that they wanted the FGC-9 that BEATTIE had sent in a text message on

August 25, 2024.




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       42.    UC1 asked BEATTIE if they gave BEATTIE the money when could UC1 get

the FGC-9. BEATTIE stated that the FGC-9 could be completed in a week and half. UC1 asked

BEATTIE how much it would cost to put a firearm suppressor on the FGC-9, something that

BEATTIE made reference to during the August 8, 2024 meet. BEATTIE stated that he was

advertising suppressors for about $50.00 each.

       43.    BEATTIE stated that the FGC-9 could not be made into a fully automatic firearm

so the firearm would probably just need an all-filament suppressor. BEATTIE further described

a suppressor that contained lock washers on the inside. BEATTIE stated that he would make one

for the FGC-9 since UC1 was the only consistent customer that he, BEATTIE, had at that time.

       44.    On or about August 26, 2024, UC1 and BEATTIE exchanged the following text

messages after they had previously met (This is not the whole conversation that took place

between UC1 and BEATTIE on or about August 26, 2024):




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        BEATTIE: Hey just to double check, any preference on color for filament? Since
        the FGC-9 is a handful of different parts and requires two rolls of material you
        can two tone it if you want. Honestly, I might get an extra roll or two of some
        different colors just for diversity anyway so you can four tone it if you wanted.

        BEATTIE: Also, there are a handful of different styles floating around the
        internet for the stocks, the barrel shroud, different trigger grips and if you want
        there is m-lok on the barrel shrouds so you can get pretty much any type of angled
        for grip or hand stop or stub brace for your other hand too

        BEATTIE: I could screenshot a handful of different options, unless you want to
        try finding some yourself and shooting them to me. Or If you just trust my sense
        of style I can just wing it and put something solid together

        UC1: Hey buddy is there anyway to get the same FGC-9 from the photo. The
        black and white one?

        BEATTIE: I am pretty sure I can get the exact same files for it. Only different
        might be the grip. I love the skeleton hex design but that is one tricky print. I
        ended up spending a couple hours (granted I was pretty twacked) actually
        grinding out the hollow parts and removing supports.

        BEATTIE: But the grips take maybe four or five hours to print so I’ll save that
        for the end anywhere. I am about to order the parts here in a short while after I
        digest. Decided to take mom out to lunch and I can’t move that well right now
        (emoji’s)

        BEATTIE: Oh, did you want the short 4.5” threaded barrel just like mine?
        Another option is a 16” threaded or unthreaded.

        BEATTIE: Really the only difference is legal aspects with the varying length, but
        If you ask me the 16 inch one looks dorky

        UC1: The same barrel you had on there

        BEATTIE: I’ll keep you updated on the process, and I am going to start putting a
        shopping list together for the bullpup version that just came out as well.

        BEATTIE: I’m gonna build that one on my own dollar first since it is something
        I haven’t done yet and I don’t want to have any potential setbacks or unknown
        issues while somebody else is waiting for it you know?

        UC1: Absolutely buddy I get it. I’m pretty excited about that bull pup too lol




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              BEATTIE: I probably will want to keep it, but you would be more than welcome
              to check it out and if the build goes as easy as the FCG builds do I will have you
              one being built next if I don’t decide to sell the first one too you

              BEATTIE: Honestly I was just checking out some used printers on marketplace,
              same exact kind as mine and I might pick one up that way I can literally cut build
              times in half.

              BEATTIE: Doesn’t make a difference for handguns but for the FGC that’s
              almost two weeks cut back into a single week, which is how long shipping takes
              anyway

              BEATTIE: Parts and the red dot sight are ordered.

              BEATTIE: I gotta stay on momma dukes about material because her Amazon
              account gets the next day shipping and shit but I will have that ordered by tonight

              *BEATTIE sent a video to UC1*

              BEATTIE: Just finished doing some maintenance and building a new bed mesh
              level so that when this material gets here tomorrow I can start printing parts for
              the FGC-9 with no issues

       45.    On or about August 27, 2024, UC1 and BEATTIE exchanged the following text

messages (This is not the whole conversation that took place between UC1 and BEATTIE on or

about August 27, 2024):


              BEATTIE: Just started the lower receive about half an hour ago. It’s the rist
              piece of the puzzle and has 32 hours left just for that.




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              UC1: Hell yeah buddy

              BEATTIE: All the parts, barrel, bolt, firing pin have shipped out too so those
              might beat the print by a long time and make it this week.

              UC1: Damn that’s quick

              BEATTIE: Yeah this company that I got the parts from is who I have ordered the
              4-5 different hi-point C9 build from and they ship in about five days flat every
              time, parts are always solid even if used (yours won’t be, these are fresh
              fabricated) and they put a single sour warhead candy in every pacakage.

       46.    On or about August 31, 2024, UC1 and BEATTIE exchanged the following text

messages (This is not the whole conversation that took place between UC1 and BEATTIE on or

about August 31, 2024):


              BEATTIE: The fun parts should be dropped off on my porch here in a couple
              hours and I will give the fabricated bolt and firing pin a quality check and if that
              goes well then things are actually ahead of schedule.

              BEATTIE: I thinkg the assembly and function testing should be done by
              Wednesday hopefully, and by the weekend live fire testing and a full disassembly
              to make sure all the internals are free of any and all types of issues.

       47.    On or about September 5, 2024, UC1 and BEATTIE exchanged the following

text messages (This is not the whole conversation that took place between UC1 and BEATTIE

on or about September 5, 2024):


              BEATTIE: Hey sorry for the late night / early morning message, just wanted to
              let you know that assembly and function tests are done and done. I have not fired
              it yet, and I can’t seem to print a skeleton AR hand grip without my supports
              turning into rock hard spaghetti now. But, aside from that this is good to go for
              you whenever you would like.




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        BEATTIE: The safe shooting area I had set up for myself fell through, luckily
        early on as opposed to potentially falling through while I was there with firearms
        so it’s back to firing in the basement unfortunately.

        BEATTIE: Right on just let me know. Did you get a chance to play with that 19x
        yet by the way?

        UC1: Oh yeah. That thing is bad ass buddy. You the damn man

        BEATTIE: Yeah I impressed myself with that one, I’ve never had a firearm that
        comforted me when using it (emoji)

        BEATTIE: So it turns out that printer maintenance unfortunately is gonna be a
        printer repair. And instead of paying $65-$70 for what I already had I’m gonna go
        ahead and pay $100 for one of the last upgrades I planned for this printer.

        BEATTIE: I’m sorry but the other project is going to have to be put off just
        slightly.

        BEATTIE: I do have a friend, who has a cousin with a brand new (top notch
        $2,500 price tagged) printer and I might be able to convice them it is something
        other than what it is. They are super straight and narrow and wouldn’t even
        fathom the idea of printing anything like this stuff



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       48.    On or about September 7, 2024, UC1 and BEATTIE exchanged the following

text messages (This is not the whole conversation that took place between UC1 and BEATTIE

on or about September 7, 2024):

              BEATTIE: If this one holds up, I will make one that is slightly larger in diameter
              as well as holds more of the baffles enabling more diffusion of gas which in turn
              grants more suppression, etc etc

       49.    On or about September 16, 2024, UC1 and BEATTIE exchanged the following

text messages (This is not the whole conversation that took place between UC1 and BEATTIE

on or about September 16, 2024):

              BEATTIE: Hope you managed to come out on top against what had you set back
              last week. I almost got myself hemmed up last night and it reminded me that I had
              meant to tell you if I ever vanish for an unwanted vacation short or long and we
              were in the middle of something ourselves, you’re more than welcome to just
              swing by anytime and momma dukes will either hand over what’s finished or
              make it right if things didn’t get that far in the process.

              BEATTIE: Also, whenever you are able to swing by for this I don’t have a
              complimentary bag/case for it sadly, I don’t care if my neighbors see it (they
              probably already have handfuls of times) but just letting you know

              UC1: Shit buddy everything ok?

              BEATTIE: Oh yeah I’m fine, just usually prefer to avoid those guys with badges
              who are power hungry b

       50.    On or about September 19, 2024, UC1 and BEATTIE exchanged the following

text messages (This is not the whole conversation that took place between UC1 and BEATTIE

on or about September 19, 2024):


              BEATTIE: Hey before you start heading this way hit me up. Depending on how
              you feel about the slightly bad news I have you might want to wait another day,
              maybe two.

              BEATTIE: Well I put the baffles in the other toy you wanted backwards as hell.
              Last night was the first time I went to test everything out, FGC was fine for 3

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              rounds. Then I put on the other part, blew the front inch, maybe in and a half of
              that off and sent it flying.

              BEATTIE: So, I need to print another housing for the extra toy, and that print
              time says 1 day and 7 hours.

              BEATTIE: If you want to come and grab the FGC today that’s fine, but the other
              part won’t be done (again) until at least tomorrow.

        51.   On or about September 27, 2024, UC1 and BEATTIE exchanged the following

text messages (This is not the whole conversation that took place between UC1 and BEATTIE

on or about September 27, 2024):


              BEATTIE: Hey you wouldn’t happen to have some 9mm and want to shoot this
              at a good friend of mines outside of town would you?

              BEATTIE: It does work and I have fired it, I did not get to put any rounds
              through the extra part yet but I don’t doubt it’s fine.

              BEATTIE: Hey, for what it’s worth I know that you said you don’t use any of the
              electronic payment methods like cash app or anything, but if you know anyone
              who does or of you feel like making a burner one registered to Mickey Mouse or
              Donald Duck and it would make it slight bit more of a convenience in either
              saving you, gas mileage or being able to make more incremental payments as
              possible.

        52.   On or about September 27th, 2024, UC1 met with BEATTIE at his home located

at 300 East Hopocan Avenue, Barberton, Ohio 44203 to retrieve the PMF and suspected

suppressor that UC1 had ordered on August 26, 2024.


        53.   UC1 pulled into the driveway of 300 East Hopocan Ave and was met by

BEATTIE. BEATTIE handed UC1 a black and white cylinder object that was broken in half,

UC1 identified the object as a suspected suppressor. BEATTIE informed UC1 that this item was

one of the “failure” ones. UC1 then followed BEATTIE into 300 East Hopocan Ave., Barberton,

OH.


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       54.    Once inside of the residence, BEATTIE retrieved a white 3-D printed knife from

the kitchen and handed it to UC1. UC1 then followed BEATTIE into the living room of the

residence where the PMF and suspected suppressor were sitting on the couch.

       55.    BEATTIE then retrieved the PMF from the couch. While holding the PMF,

BEATTIE informed UC1 that he had “shot the shit out of it.” BEATTIE stated that he and his

friend “Joe” had fired more than 50 rounds of ammunition through the firearm. BEATTIE

handed the PMF and a 33-round magazine to UC1. BEATTIE also handed UC1 a box that came

with the red dot sight that was affixed to the PMF. BEATTIE then handed UC1 the suspected

suppressor for the PMF.




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       56.       BEATTIE eventually escorted UC1 out of the residence, and UC1 placed the

PMF, the suspected suppressor, and the knife in the trunk of the UC1’s vehicle.


                                       CRIMINAL HISTORY

       57.       On or about July 21, 2011, BEATTIE was convicted of Burglary, a felony of the

2nd degree and Theft, a felony of the 5th degree in the Wayne County, Ohio, Court of Common

Pleas case 11-CR-0134. On or about November 4, 2014, BEATTIE was convicted of Domestic

Violence, a misdemeanor in the 1st degree in the Massillon Municipal Court, Ohio case

2014CRB02461. On or about July 12, 2018, BEATTIE was convicted of Domestic Violence, a

misdemeanor in the 4th degree in the Wayne County, Ohio, Court of Common Pleas case 2018-

CRB-000488. On or about July 25, 2018, BEATTIE was convicted of Domestic Violence, a

felony in the 4th degree in the Wayne County, Ohio, Court of Common Pleas case 2018 CRC-I

00054. Based on these convictions, BEATTIE is prohibited by federal law from possession of

firearms and ammunition.

                                           CONCLUSION

       58.       Based upon the above listed facts and circumstances, I assert there is probable

cause that:

       A. On or about August 2024, and September 2024, Alexander BEATTIE engaged in the

              business of dealing firearms without a license, in violation of Title 18 U.S.C. Section

              922(a)(1)(A).




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       B. On or about September 2024, Alexander BEATTIE manufactured a firearm in

           violation of Title 26 U.S.C. Section 5861(f).



                                                           Respectfully submitted,




                                                           _________________________
                                                           Hans Wiedenhofer
                                                           Special Agent
                                                           Bureau of Alcohol, Tobacco,
                                                           Firearms and Explosives




Sworn to via telephone after submission by reliable electronic means. Fed. R. Crim. P. 4.1 and
41(d)(3) this 8th day of November 2024.


_________________________________________
THE HONORABLE AMANDA M. KNAPP
UNITED STATES MAGISTRATE JUDGE




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